         Case 1:16-cv-05475-AKH Document 3 Filed 07/08/16 Page 1 of 2
IH-32                                                                                Rev: 2014-1




                      United States District Court	

                                  for the	

                     Southern District of New York	

                              Related Case Statement	

                                                !
                              Full Caption of Later Filed Case:

Atlas Master Fund, Ltd., Atlas Leveraged
Master Fund, Ltd. and Lyxor/Balyasny
Atlas Enhanced Fund, Ltd.


                  Plaintiff                                        Case Number



                    vs.

!!
American Realty Capital Properties, Inc.,
n/k/a VEREIT, Inc., Nicholas S. Schorsch,
David S. Kay, Brian S. Block, and Lisa P.
McAlister

                 Defendant

                              Full Caption of Earlier Filed Case:
               (including in bankruptcy appeals the relevant adversary proceeding)

!!
In re American Realty Properties, Inc.
Litigation



                  Plaintiff                                        Case Number

                                                 1:15-mc-00040-AKH
                    vs.

!!

                 Defendant
!

                                             Page !1
            Case 1:16-cv-05475-AKH Document 3 Filed 07/08/16 Page 2 of 2
IH-32                                                                                        Rev: 2014-1



Status of Earlier Filed Case:
                         (If so, set forth the procedure which resulted in closure, e.g., voluntary
        ____ Closed      dismissal, settlement, court decision. Also, state whether there is an appeal
                         pending.)
        ✔
    ____ Open            (If so, set forth procedural status and summarize any court rulings.)

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Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
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The action being filed today is against the same defendants as a consolidated putative class
!
action filed by purchasers of securities of American Realty Capital Properties, Inc. ("ARCP")
!
that was filed in this Court and assigned to Judge Hellerstein. Although this action is not a
!
class action, like the other case before Judge Hellerstein, plaintiffs in this action are
!
purchasers of ARCP securities who are asserting claims in connection with
!
misrepresentations and omissions in ARCP's public filings that were first partially disclosed
!
by ARCP on October 29, 2014.
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!
!               /s/ Lawrence M. Rolnick                                         7/8/16
Signature:    ________________________________________                  Date: __________________!
!
!             Lowenstein Sandler LLP
Firm:         ________________________________________


                                                Page !2
